
The Director of the Office of Lawyers Professional Responsibility has filed a petition for revocation of probation and for further disciplinary action against respondent Todd Curtis Pearson. The Director has also filed an application for suspension under Rule 12(c)(1), Rules on Lawyers Professional Responsibility (RLPR), based upon evidence that respondent cannot be found in the state to respond to the petition for disciplinary action.
Based upon all the files, records, and proceedings herein,
IT IS HEREBY ORDERED that respondent Todd Curtis Pearson is suspended from the practice of law. Within 1 year from the date of this order, respondent may move the court for vacation of this order of suspension and for leave to answer the petition for disciplinary action. See Rule 12(c)(1), RLPR. If respondent fails to appear in this matter within 1 year of the date of the filing of this order, the allegations in the petition for disciplinary action shall be deemed admitted.
BY THE COURT:
/s/ ______________________________
David L. Lillehaug
Associate Justice
